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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CIVCON SERVICES, INC., individually and on )
behalf of all others similarly situated,   )
                                           )
                Plaintiff,                 )                   Case No. 1:20-cv-01821
                                           )
       v.                                  )
                                           )
ACCESSO SERVICES, LLC                      )
                                           )
                Defendant                  )
                                           )
                                           )



               PLAINTIFFS’ NOTICE OF MOTION AND UNOPPOSED MOTION
                    FOR PRELIMINARY APPROVAL OF SETTLEMENT

       Please take notice that the Plaintiff CivCon Services, Inc. hereby moves for an Order of

the Court granting its Unopposed Motion for Preliminary Approval of the Settlement with

Defendant Accesso Services, LLC. This motion is based on this notice of motion and motion,

Federal Rule of Civil Procedure 23, the concurrently filed Memorandum and supporting

declarations, and all other evidence and arguments presented in the briefings.

       Pursuant to the United States District Court for the Northern District of Illinois’ Tenth

Amended General Order 20-0012 (February 12, 2021), the undersigned counsel will not request

an in-person presentment of this Motion. Should the Court determine that a hearing is necessary,

the undersigned counsel is available at the Court’s earliest availability.




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Dated: March 9, 2020                  Respectfully Submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing document was filed electronically
with the above-captioned court, with notice of case activity to be generated and sent electronically
by the Clerk of said court this 9th day of March, 2021 to all counsel of record.

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                                                     /s/ Anna M. Ceragioli




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